       Case 20-50471-btb       Doc 6   Entered 05/04/20 17:42:11       Page 1 of 8



 1   KEVIN A. DARBY, NVSB# 7670
     TRICIA M. DARBY, NVSB# 7959
 2   DARBY LAW PRACTICE, LTD.
     4777 Caughlin Parkway
 3
     Reno, Nevada 89519
 4   Telephone: 775.322.1237
     Facsimile: 775.996.7290
 5   kad@darbylawpractice.com
     tricia@darbylawpractice.com
 6

 7   Attorneys for Debtor/Debtor in Possession

 8
                             UNITED STATES BANKRUPTCY COURT
 9                                  DISTRICT OF NEVADA
10   In re:                                            CASE NO.:     BK-N-20-50471-BTB
11                                                     Chapter 11 Subchapter V
     ALY EATERY, INC,
12                                                     DEBTOR’S FINANCIAL STATEMENTS
                                                       PURSUANT TO 11 U.S.C. §1187(a)
13                     Debtors.
14
     ______________________________________/
15
              Debtor and Debtor in Possession, ALY EATERY, INC., hereby submits the financial
16
     statements required by 11 U.S.C. §1116(1)(A), as made applicable to this Chapter 11 Subchapter
17   V case by 11 U.S.C. §1187(a), which are attached hereto as Exhibit 1.
18            DATED this 4th day of May, 2020.
19                                               DARBY LAW PRACTICE, LTD.

20                                                  /s/ Kevin A. Darby
                                                 ______________________________
21                                               KEVIN A. DARBY, ESQ.
                                                 Attorneys for Aly Eatery, Inc.
22

23

24

25

26

27

28
     Case 20-50471-btb   Doc 6   Entered 05/04/20 17:42:11   Page 2 of 8



 1
                                     EXHIBIT 1
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                   EXHIBIT 1


                                       -2-
Case 20-50471-btb   Doc 6   Entered 05/04/20 17:42:11   Page 3 of 8
Case 20-50471-btb   Doc 6   Entered 05/04/20 17:42:11   Page 4 of 8
Case 20-50471-btb   Doc 6   Entered 05/04/20 17:42:11   Page 5 of 8
Case 20-50471-btb   Doc 6   Entered 05/04/20 17:42:11   Page 6 of 8
Case 20-50471-btb   Doc 6   Entered 05/04/20 17:42:11   Page 7 of 8
Case 20-50471-btb   Doc 6   Entered 05/04/20 17:42:11   Page 8 of 8
